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                                EXHIBIT A
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                              UNITED STATES BANKRUPTCY COURT
                                   DISTRICT OF MINNESOTA

*****************************************************************************

In re:                                                                   Jointly Administered under
                                                                             Case No. 15-50307

MAGNETATION LLC, et al,                                                Court File No. 15-50307 (GFK)

                             Debtors.

(includes:                                                                      Court File Nos.:

Mag Lands, LLC                                                                  15-50308 (GFK)
Mag Finance Corp.                                                               15-50309 (GFK)
Mag Mining, LLC                                                                 15-50310 (GFK)
Mag Pellet LLC)                                                                 15-50311 (GFK)

                                                                              Chapter 11 Cases
                                                                        Chief Judge Gregory F. Kishel

*****************************************************************************

         ORDER APPROVING DEBTORS’ JOINT APPLICATION TO EMPLOY
            LOCAL ENVIRONMENTAL COUNSEL NUNC PRO TUNC TO
                           DECEMBER 31, 2015
                          (Hatchett & Hauck LLP)


*****************************************************************************

         Upon the application dated January 25, 2016 (the “Application”)1 of Magnetation LLC

and its subsidiaries, as debtors and debtors in possession in these proceedings (collectively, the

“Debtors”), for the entry of an order pursuant to sections 327(a) and 328(a) of title 11 of the

United States Code (the “Bankruptcy Code”), Rule 2014(a) of the Federal Rules of Bankruptcy

Procedure (the “Bankruptcy Rules”) and Rules 2014-1 and 2016-1 of the Local Bankruptcy


                 1
                   Unless otherwise defined herein, each capitalized term shall have the meaning ascribed to such
term in the Application.
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Rules for the District of Minnesota (the “Local Rules”), authorizing them to employ and retain

Hatchett & Hauck LLP (“Hatchett”) as local environmental counsel in the above-captioned

chapter 11 cases nunc pro tunc to December 31, 2015; and upon the Unsworn Declaration of

David L. Hatchett in Support of the Debtors’ Joint Application to Employ Indiana Local

Environmental Counsel Nunc Pro Tunc to December 31, 2015 (Hatchett & Hauck LLP),

attached to the Application (the “Hatchett Declaration”) and the Unsworn Declaration of

Joseph A. Broking in Support of the Debtors’ Joint Application to Employ Indiana Local

Environmental Counsel Nunc Pro Tunc to December 31, 2015 (Hatchett & Hauck LLP),

attached to the Application (the “Broking Declaration”); and the Court being satisfied based on

the representations made in the Application and in the Hatchett Declaration and the Broking

Declaration, that (i) Hatchett represents no interest adverse to the Debtors’ estates with respect to

the matters upon which it is to be engaged and that it is a disinterested person as that term is

defined under section 101(14) of the Bankruptcy Code, as modified by section 1107(b) of the

Bankruptcy Code, (ii) its employment is necessary and in the best interests of the Debtors’

estates and (iii) the terms of the Engagement Letter are reasonable terms for the purposes of

section 328(a) of the Bankruptcy Code; and consideration of the Application and the relief

requested therein being a core proceeding pursuant to 28 U.S.C. § 157(b); and venue being

proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409; and due and proper notice of

the Application having been provided; and it appearing that no other or further notice need be

provided; and after due deliberation and sufficient cause appearing therefor,

IT IS HEREBY ORDERED THAT:

       1.      The relief requested in the Application is hereby GRANTED.

       2.      In accordance with sections 327(a) and 328(a) of the Bankruptcy Code,
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Bankruptcy Rule 2014 and Local Rules 2014-1 and 2016-1, the Debtors are authorized to

employ and retain Hatchett as local environmental counsel nunc pro tunc to December 31, 2015

on the terms set forth in the Application and the Engagement Letter, as modified by this Order.

         3.    Hatchett shall be compensated for its services and reimbursed for any reasonable

and necessary expenses and disbursements in accordance with the disbursement policies set forth

in the Application and the Hatchett Declaration, sections 330 and 331 of the Bankruptcy Code,

the Bankruptcy Rules, the Local Rules, this Order and any other applicable orders of this Court.

         4.    In accordance with paragraph 9 of the Court’s Instructions for Filing a Chapter 11

Case, interim fee applications by Hatchett may be heard on 90-day intervals from the

commencement of the Debtors’ chapter 11 cases.

         5.    The Debtors are authorized to pay monthly invoices of Hatchett under the

procedures set forth in paragraph 9 of the Court’s Instructions for Filing a Chapter 11 Case.

         6.    If Hatchett fails to file an application seeking approval of compensation and

expenses previously paid under this Order within the time frame set forth under § 331 (120

days), Hatchett (1) shall be ineligible to receive further monthly payments of fees or expenses as

provided in this Order under the Instructions for Filing a Chapter 11 case until further order of

the Court and (2) may be required to disgorge any fees paid since the last fee application (or, if

no fee application has been filed by such professional, since retention).

         7.    Hatchett shall make all reasonable efforts to avoid any inappropriate duplication

of services provided by any of the Debtors’ other retained professionals in these chapter 11

cases.

         8.    Notwithstanding any Bankruptcy Rule or Local Rule that might otherwise delay

the effectiveness of this Order, the terms and conditions of this Order shall be immediately

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                                           4 of 4
                                                16   First Name

                       Middle Initial                                   Bar ID
effective and enforceable upon its entry.
                       Date of admission to practice before the U.S. District Court for the District of Minnesota
       9.      This Court retains exclusive jurisdiction to hear and determine all matters arising
                        Address 1
from or related to the implementation and/or interpretation of this Order.
                   Address 2
       February 3
Dated:______________, 2016

                       City
                                                           /e/ Gregory F. Kishel
                       Phone
                                               Gregory F. Kishel
                                               Chief United States Bankruptcy Judge
                       Primary email for noticing

                       Secondary email address (s) for noticing

                                                             NOTICE OF ELECTRONIC ENTRY AND
                       If someone in your firm is already certified
                                                          FILING ORDERyou ORcan     be certified immediately. Name of
                                                                               JUDGMENT
                       certified attorney, if applicable. Filed and Docket Entry made on02/03/2016
                                                          Lori Vosejpka, Clerk, by AMM


                       Please select how you want to receive email notices. Select only one which will be
                       default for all filings.
                              Send a notice for each filing.            Send a Daily Summary Report

                       Please select one of the following email formats. The default is Html format.
                             Html format for Netscape or ISP email service
                             Text format for cc:Mail, GroupWise, other email service

                       If you are currently registered in CM/ECF and want to change your password, please
                       enter the new password below. The password must be 6 or more characters and/or
                       numbers.                                  Enter again

                       Click SUBMIT or attach as a PDF document and email to Woody_Parks@mnb.uscourts.
                       and Margaret_Dostal-Fell@mnb.uscourts.gov. Please refer registration or change of info
                       questions to Woody Parks at 612-664-5236 or Margaret Dostal-Fell at 612-664-5273.
                       We no of longer accept fax copies.


                                   Click to SUBMIT                                               Click to RESET




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                                EXHIBIT B
Hatchett    & Hauck
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                                                                                                                                                 Invoice
                                                                                                                                          Desc Main
                                                                                                                               111 Monument Circle, Suite 301
                                                                                                                                      Indianapolis, IN 46204
September 22, 2017                                                                                                                             317.464.2620
                                                                                                                                               317.464.2629
                                                                                                                                                  EIN# XX-XXXXXXX


Invoice                                                                                                                                          Invoice Number
submitted to:
Mag Pellet LLC
Attn: Michael Twite
                                                                                                                                                         9909
102 NE Third Street, Suite 120
Grand Rapids, MN 55744
mike.twite@magnetation.com

In Reference To: Mag Pellet LLC
                 Environmental                                                                                                                           Terms

                                                                                                                                                    Net 30 Days


 Date            Prof.         Description                                                                                     Hours             Rate        Amount

 8/2/2017        DLH           Review EPA allegations in administrative costs filing and email                                   0.80 $340.00/hr             $272.00
                               with Davis Polk.
 8/8/2017        DLH           Prepare for and call with Davis Polk discussing EPA claim.                                        0.90    $340.00/hr          $306.00
 8/22/2017       DLH           Emails with EPA and M. Talarico on EPA claim.                                                     0.40    $340.00/hr          $136.00
 8/25/2017       DLH           Review EPA allegations against factual background.                                                2.60    $340.00/hr          $884.00
                 DLH           Prepare for and call with DOJ/EPA discussing administrative                                       0.70    $340.00/hr          $238.00
                               claim.
                 DLH           Report on call with EPA/DOJ.                                                                      0.40    $340.00/hr          $136.00
                 LDH           Research related to EPA enforcement authority and case law.                                       3.90     $70.00/hr          $273.00
 8/28/2017       DLH           Consider EPA claim's allegations.                                                                 0.10    $340.00/hr           $34.00
                 LDH           Research EPA authority and settlements in bankruptcy setting.                                     5.40     $70.00/hr          $378.00
 8/29/2017       DLH           Emails with team to discuss EPA claim.                                                            0.10    $340.00/hr           $34.00
                 DLH           Evaluate EPA claim in context of other bankruptcy/inability to                                    0.40    $340.00/hr          $136.00
                               pay cases.
                 LDH           Review and edit chart related to bankruptcy case law research.                                    0.90 $70.00/hr               $63.00
 8/30/2017       DLH           Consider EPA guidance on ability to pay.                                                          0.10 $340.00/hr              $34.00
                 LDH           Research bankruptcy and ability to pay in environmental                                           1.80 $70.00/hr              $126.00
                               enforcement.
TOTAL For Professional Services Rendered                                                                                                                  $3,050.00

                                                                      Timekeeper Summary
Name                                                                                                                          Hours           Rate           Amount
David L. Hatchett                                                                                                              6.50         340.00         $2,210.00
Lauren D. Hacias                                                                                                              12.00          70.00           $840.00




Please make all payments to Hatchett & Hauck LLP and include the invoice number being paid. This invoice is considered past due 30 days after receipt.
A late charge at the rate of 1% per month will be imposed on past due invoices.

Thank you for your business.
                                                                                   1
Hatchett    & Hauck
   Case 15-50307 Doc 1623 LLP
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                                                                                                                                      Desc Main
                                                                                                                            111 Monument Circle, Suite 301
                                                                                                                                   Indianapolis, IN 46204
October 27, 2017                                                                                                                            317.464.2620
                                                                                                                                            317.464.2629
                                                                                                                                             EIN# XX-XXXXXXX


Invoice                                                                                                                                      Invoice Number
submitted to:
Mag Pellet LLC
Attn: Michael Twite
                                                                                                                                                  10014
102 NE Third Street, Suite 120
Grand Rapids, MN 55744
mike.twite@magnetation.com

In Reference To: Mag Pellet LLC
                 Environmental                                                                                                                      Terms

                                                                                                                                               Net 30 Days


 Date           Prof.          Description                                                                                 Hours             Rate         Amount

 9/1/2017       DLH            Emails with EPA on status of claim consideration.                                             0.10    $340.00/hr            $34.00
 9/5/2017       DLH            Review EPA allegations and enforcement case history.                                          1.50    $340.00/hr           $510.00
                DLH            Call with client team discussing EPA claim.                                                   0.70    $340.00/hr           $238.00
                DLH            Correspondence with EPA on claim.                                                             0.10    $340.00/hr            $34.00
 9/7/2017       DLH            Emails with EPA/DOJ and client on discussion of EPA claim.                                    0.20    $340.00/hr            $68.00
 9/12/2017      DLH            Prepare for and call with EPA/DOJ regarding administrative                                    0.70    $340.00/hr           $238.00
                               claim.
                DLH            Attention to info requested by EPA/DOJ.                                                       0.20 $340.00/hr                $68.00
 9/14/2017      DLH            Emails on court date for EPA claim.                                                           0.10 $340.00/hr                $34.00
 9/15/2017      LDH            Review statutory requirements for ability to pay and EPA                                      0.70 $70.00/hr                 $49.00
                               guidance.
 9/18/2017      LDH            Draft analysis of ability to pay and civil penalty considerations.                            4.50 $70.00/hr               $315.00
 9/22/2017      DLH            Revise inability to pay analysis.                                                             1.70 $340.00/hr              $578.00
 9/25/2017      DLH            Finalize and send to Davis Polk draft response on EPA claim.                                  0.40 $340.00/hr              $136.00
                LDH            Analyze case law regarding ability to pay.                                                    1.10 $70.00/hr                $77.00
TOTAL For Professional Services Rendered                                                                                                             $2,379.00

                                                                    Timekeeper Summary
Name                                                                                                                       Hours          Rate             Amount
David L. Hatchett                                                                                                           5.70        340.00           $1,938.00
Lauren D. Hacias                                                                                                            6.30         70.00             $441.00




         Current                       30 Days                        60 Days                               90 Days                        120+ Days
        $2,379.00                      $610.00                        $0.00                                 $0.00                            $0.00




Please make all payments to Hatchett & Hauck LLP and include the invoice number being paid. This invoice is considered past due 30 days after receipt.
A late charge at the rate of 1% per month will be imposed on past due invoices.

Thank you for your business.
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Hatchett    & Hauck
   Case 15-50307 Doc 1623 LLP
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                                                                                                                                          Desc Main
                                                                                                                               111 Monument Circle, Suite 301
                                                                                                                                      Indianapolis, IN 46204
November 22, 2017                                                                                                                              317.464.2620
                                                                                                                                               317.464.2629
                                                                                                                                                  EIN# XX-XXXXXXX


Invoice                                                                                                                                          Invoice Number
submitted to:
Mag Pellet LLC
Attn: Michael Twite
                                                                                                                                                         10072
102 NE Third Street, Suite 120
Grand Rapids, MN 55744
mike.twite@magnetation.com

In Reference To: Mag Pellet LLC
                 Environmental                                                                                                                           Terms

                                                                                                                                                    Net 30 Days


 Date            Prof.         Description                                                                                     Hours             Rate        Amount

 10/5/2017 DLH                 Attention to settlement offer to EPA.                                                             0.20 $340.00/hr                 $68.00
 10/10/2017 DLH                Emails on settlement offer for EPA claim.                                                         0.10 $340.00/hr                 $34.00
 10/24/2017 DLH                Update on EPA's adjournment of claim.                                                             0.10 $340.00/hr                 $34.00
TOTAL For Professional Services Rendered                                                                                                                   $136.00

                                                                      Timekeeper Summary
Name                                                                                                                          Hours           Rate           Amount
David L. Hatchett                                                                                                              0.40         340.00           $136.00




         Current                       30 Days                          60 Days                                 90 Days                         120+ Days
        $2,515.00                       $0.00                          $610.00                                  $0.00                             $0.00




Please make all payments to Hatchett & Hauck LLP and include the invoice number being paid. This invoice is considered past due 30 days after receipt.
A late charge at the rate of 1% per month will be imposed on past due invoices.

Thank you for your business.
                                                                                   1
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                          UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF MINNESOTA


IN RE:                                            JOINTLY ADMINISTERED UNDER
                                                  CASE NO. 15-50307
MAGNETATION LLC, et al,
              Debtors.                            COURT FILES NO. 15-50307 (WJF):

(INCLUDES:                                        15-50308 (WJF)
MAG LANDS, LLC                                    15-50309 (WJF)
MAG FINANCE CORP.                                 15-50310 (WJF)
MAG MINING, LLC                                   15-50311 (WJF)
MAG PELLET LLC)
                                                  Chapter 11 Cases
                                                  Judge William J. Fisher




                          ORDER ALLOWING COMPENSATION
                         TO LOCAL COUNSEL FOR THE DEBTORS


     This case is before the court on the sixth application of the law firm of HATCHETT &
HAUCK LLP for compensation as local counsel for the Debtors.

         Based on the application and the file,

         IT IS ORDERED:

       1.       Local Rule 2002-1(b)(2) is hereby waived with respect to service of the
Application.

       2.      HATCHETT & HAUCK LLP is awarded $5,565.00 as compensation as local counsel
for the Debtors and $0.00 as reimbursement of expenses incurred and advanced for the
applicable time period, for a total of $5,565.00, of which $4,452.00 has been paid.

         3.     The Debtors are authorized to pay the unpaid balance of $1,113.00.



Dated:
                                                    William J. Fisher
                                                    United States Bankruptcy Judge
